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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE


SYMBOLOGY INNOVATIONS LLC                        §
                                                 §
       Plaintiff,                                §    CIVIL ACTION NO.
                                                 §
       v.                                        §    JURY TRIAL DEMANDED
                                                 §
THAT’S IT NUTRITION LLC                          §
                                                 §
       Defendant.                                §


                      COMPLAINT FOR PATENT INFRINGEMENT

       COMES NOW, Plaintiff Symbology Innovations LLC (“Symbology” or Plaintiff),

through the undersigned attorneys, and respectfully alleges, states, and prays as follows:

                                 NATURE OF THE ACTION

       1.      This is an action for patent infringement under the Patent Laws of the United

States, Title 35 United States Code (“U.S.C.”) to prevent and enjoin defendant That’s It Nutrition

LLC, (hereinafter “Defendant”), from infringing and profiting, in an illegal and unauthorized

manner and without authorization and/or of the consent from Symbology, from U.S. Patent No.

8,936,190 (the “‘190 patent”, attached hereto as Exhibits A) pursuant to 35 U.S.C. § 271, and to

recover damages, attorney’s fees, and costs.

                                         THE PARTIES

       2.      Plaintiff Symbology is a Texas company with its principal place of business at

1400 Preston Road, Suite 400, Plano, TX 75093.

       3.      Upon information and belief, Defendant is a limited liability company organized

under the laws of Delaware, having a principal place of business at 834 S Broadway, Ste. 800,

Los Angles, California 90014. Upon information and belief, Defendant may be served with
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process at National Registered Agents, Inc., 160 Greentree Dr., Ste. 101, Dover, Delaware

19904.

                                 JURISDICTION AND VENUE

         4.    The Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

§§1331 and 1338(a) because the action arises under the Patent Laws of the United States, 35

U.S.C. §§ 1 et seq.

         5.    This Court has personal jurisdiction over Defendant by virtue of its systematic

and continuous contacts with this jurisdiction, as well as because of the injury to Symbology, and

the cause of action Symbology has risen, as alleged herein.

         6.    Defendant is subject to this Court’s specific and general personal jurisdiction

pursuant to due process and/or the Delaware Long Arm Statute, Del Code. Ann. Tit. 3, §3104,

due at least to its substantial business in this forum, including: (i) at least a portion of the

infringements alleged herein; and (ii) regularly doing or soliciting business, engaging in other

persistent courses of conduct, and/or deriving substantial revenue from goods and services

provided to individuals in Delaware and in this judicial district.

         7.    Venue is proper in this judicial district pursuant to 28 U.S.C. § 1400(b) because

Defendant resides in this District, and/or has committed acts of infringement and has a regular

and established place of business in this District.

                                  FACTUAL ALLEGATIONS

         8.    The written description for the ‘190 patent indicates that electronic devices at the

time of the invention could be enhanced with software applications to enable the information

retrieval procedures described by the ‘190 patent.
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        9.      Accordingly, the combination of steps and/or functionalities—as embodied for

example in claim 1—resulted in the enhancement or improvement of electronic devices at the

time of the invention.

        10.     On January 20, 2015, the United States Patent and Trademark Office (“USPTO”)

duly and legally issued the ‘190 patent, titled “System and method for presenting information

about an object on a portable electronic device” after a full and fair examination.

        11.     Symbology is presently the owner of the patent, having received all right, title and

interest in and to the ‘190 patent from the previous assignee of record. Symbology possesses all

rights of recovery under the ‘190 patent, including the exclusive right to recover for past

infringement.

        12.     The ‘190 patent contains three independent claims and seventeen dependent

claims. Defendant uses, inter alia, methods that perform all the steps recited in at least one claim

of the ‘190 patent.

        13.     The invention claimed in the ‘190 patent comprises a method for enabling a

portable electronic device to retrieve information about an object when the object’s symbology,

is detected.

        14.     The Notice of Allowance for the patent application that resulted in the ‘190 patent

—dated September 15, 2014— indicates that the prior art of record, taken alone, or in

combination with any other prior art, fails to teach or fairly suggest the specific features recited

in the claims of the ‘190 patent.

                              INFRINGEMENT OF THE ‘190 PATENT

        15.     Plaintiff realleges and incorporates by reference the allegations set forth in

paragraphs 1 to 14.
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       16.     In violation of 35 U.S.C. § 271, Defendant is now, and has been directly

infringing the ‘190 patent

       17.     Defendant has had knowledge of infringement of the ‘190 patent at least as of the

service of the present complaint.

       18.     On information and belief, Defendant has infringed and continues to infringe one

or more claims, including at least Claim 1, of the ‘190 patent by using and/or incorporating

Quick Response Codes (QR codes) into its products in a manner covered by one or more claims

of the ‘190 Patent, and upon doing so, performing all of the steps of at least Claim 1 of the ‘190

patent upon internally testing said QR Codes with an electronic device capable of both reading

the QR Code and performing the steps set forth in Claim 1. Defendant has infringed and

continues to infringe the ‘190 Patent in violation of 35 U.S.C. § 271.

       19.     On information and belief, Defendant has, at least through internal testing, used or

incorporated QR codes into products, associating such QR codes with products and/or services.

One specific example of Defendant’s activity involves the use of QR codes on packaging

associated with Defendant’s products/services.

       20.     For example, on information and belief, Defendant has at least internally tested

the functionality of its QR codes in connection with its products. On information and belief,

Defendant has captured a digital image of a QR code associated with its product, an example of

which is shown below.
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      21.     On information and belief, at least through internal testing, Defendant has used a

digital image capturing device of an electronic device, such as the camera component of a smart

phone for example, to capture a digital image of the QR code associated with its

products/services.

      22.     On information and belief, Defendant’s capture of the digital image is processed

by scanning technology loaded onto the electronic device. The scanning technology detects

symbology (for example, a pattern within the QR code) associated with the digital image (for

example, the QR code on the packaging of the product in the image). On information and

belief, the scanning technology is used to decode the symbology to obtain a decode string. The

decode string is sent to a remote server for further processing. Based on the decode string, the

remote server sends information associated with the QR code, which is received by the user of

the electronic device and displayed on a display associated with the electronic device.
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       23.       For example, if a user scans a QR code associated with Defendant’s product,

scanning technology decodes the pattern of the QR code to obtain a decode string and sends the

decode string to a remote server. The server returns information associated with the QR code.

In this example, the information received by the user and displayed on the electronic device is

information related to Defendant’s products/services, and includes a website providing additional

information about the product/service as shown below.




       24.       By engaging in the conduct described herein, Defendant has injured Symbology

and is thus liable for infringement of the ‘190 patent, pursuant to 35 U.S.C. § 271.

       25.       Defendant has committed these acts of infringement without license or

authorization.
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        26.     As a result of Defendant’s infringement of the ‘190 patent, Symbology has

suffered monetary damages and is entitled to a monetary judgment in an amount adequate to

compensate for Defendant’s past infringement, together with interests and costs.

        27.     Symbology will continue to suffer damages in the future unless Defendant’s

infringing activities are enjoined by this Court. As such, Symbology is entitled to compensation

for any continuing and/or future infringement up until the date that Defendant is finally and

permanently enjoined from further infringement.

                                     DEMAND FOR JURY TRIAL

    28. Symbology demands a trial by jury of any and all causes of action.

                                     PRAYER FOR RELIEF

        WHEREFORE, Symbology prays for the following relief:

        a.      That Defendant be adjudged to have directly infringed the Patents-In-Suit either

literally or under the doctrine of equivalents;

        b.      An accounting of all infringing sales including, but not limited to, those sales not

presented at trial;

        c.      That Defendant, its officers, directors, agents, servants, employees, attorneys,

affiliates, divisions, branches, parents, and those persons in active concert or participation with

any of them, be permanently restrained and enjoined from directly infringing the ‘Patents-In-

Suit;

        d.      An award of damages pursuant to 35 U.S.C. §284 sufficient to compensate

Symbology for the Defendant’s past infringement and any continuing or future infringement up

until the date that Defendant is finally and permanently enjoined from further infringement,

including compensatory damages;
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        e.    An assessment of pre-judgment and post-judgment interest and costs against

Defendant, together with an award of such interest and costs, in accordance with 35 U.S.C. §284;

and

        f.    That Symbology have such other and further relief as this Court may deem just

and proper.

Dated: October 18, 2018                      Respectfully Submitted,

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